05/19 13:57:22 Doc1 Pg.1o0f8

 
 

Fill in this information to identify your case:

United States Bankruptcy Court for the
Southern District of California

 

Case number Chapter you are filing under
ml = Chapter 7
| Chapter 11 [J Check if this is an
|} = Chapter 12 Amended filing
|] Chapter 13

 

OFFICIAL FORM 101

Voluntary Petition for Individuals Filing for Bankruptcy 12/15

The bankruptcy form use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together -- called a joint case --
and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car", the answer would
be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor w to distinguish
between the. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1
in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

Your full Name

 

Write the name that is on
your government issued Brian

 

 

 

picture identification (for Firstname
example, your driver's A.

license or passport). Middle name
Bring your picture

identification to your LaPorte
meeting with the trustee. Last name

 

Suffix (sr., Jr., Il, Ill)

 

2. — All other names your have

 

 

 

 

used in the last 8 years First name

Include your married or :

maiden names. Micdie:nains
Last name
First name

 

Middle name

 

Last name

 

3. Only the last 4 digits of your
Social Security number or xxx - xx - 9973
federal individual Taxpayer
Identification number (ITIN) = or

 

OXX - XX -

 

 

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Debtor 1 - Brian A. LaPorte Case Number ( if known)

 

4. Any business names and | have not used any business names or EINs
Employer Identification
Numbers (EIN) you have used
in the last 8 years.

 

 

 

Business Name:
Include trade names and
doing business as name

 

Business Name:

EIN:

 

EIN:

 

 

5. Where you live

15790 Sunset Drive

Number Street

 

 

Poway, CA 92064

City State Zip Code

County

If your mailing address Is different from the one above,
fill it in here. Note that the court will send any
notice to you at this mailing address

 

 

 

 

 

 

 

 

6. Why you are choosing this Check one

district to file for bankruptcy.
Over the last 180 days before filing this

petition | have lived in this district longer than in
any other district

LJ | have another reason. Explain.
(see 28 U.S.C. § 1408.)

 

 

 

 

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy Page 2
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Debtor! =. Brian A. LaPorte

Case Number ( if known)

cam Tell the Court About Your Bankruptcy Case

 

7. The chapter of the Bankruptcy
Code you are choosing to file
under

Check One. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals
Filing for Bankruptcy(Form 2010)). Also, go to the top of page 1 and check the appropriate box.

Chapter 7

[J Chapter 11
[J Chapter 12
[J Chapter 13

 

8. How you will pay the fee

| will pay the entire fee when | file my Petition. Please check with the clerk's office in your local
court for more details about how you may pay. Typically, if you are paying the fee yourself,
you may pay with case, cashier's check, or money order. If your attorney is submitting your
payment on your behalf, you attorney may pay with a credit card or check with a pre-printed
address.

Lj | need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individual to Pay The Filing Fee in Installments (Official Form 103A).

Ld | request that my fee he waived. (You may request this option only if you are filing for Chapter
By law, ajudge may, but is not required to, waive your fee, and may do so only if your income
is less than 150% of the official poverty line that applies to your family size and you are
unable to pay the fee in installments). If you choose this option, you must fill out the
Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your

 

 

 

 

 

 

 

 

petition.
9. Have you filed for bankruptcy [J No
within the last 8 years?
Yes
None
Dated: When: Case number:
Dated: When: Case number:
10 Are any bankruptcy cases | No
. pending or being filed by a Debtor: Relationshin t .
spouse who is not filing this [J Yes _°°?!O" elationship to you:
case with you, or by a Dated: When: Case number:
business partner, or by an
affiliate?
Debtor: Relationship to you:
Dated: When: Case number:

 

 

 

11 Do you rent your residence?

No Goto line 12

Lj Yes Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

LJ No. Go to line 12.

[LJ Yes. Fill out initial Statement about and Eviction Judgment Against You (Form 101A and
file it with the bankruptcy petition.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy Page 3

 
 

Debtor 1

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- Brian A. LaPorte

Case Number ( if known)

Report About Any Businesses You Own as a Sole Proprietor.

 

Are you a sole proprietor of
any full - or part - time
businesses?

Asole proprietorship is a
business you operate as an
individual and is not a
separate legal entity such as a
corporation, partnership, or
LLC.

If you have more than on sole
proprietorship, use a separate
sheet and attache it to this
petition,

No. Go to Part 4..

LJ Yes. Name and location of Business

 

Name of business, if any

 

Number Street

 

 

City State Zip Cod

Check the appropriate box to describe your business.

CJ Health Care Business (as defined in 11 U.S.C. § 101(27A)).
J Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)).
LJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

| Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the Above.

 

 

 

 

 

 

 

 

 

 

13 Are you filing under Chapter If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
11 of the Bankruptcy Code can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
and are you a small business most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
debtor: v if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

For a definition of sma// on
Businsesdiahior wee 11 No | am not filing under Chapter 11.
U.S.C. § 101(51D
(610) J No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
the bankruptcy code.
| Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

See: Report If You Own or Have Any Hazardous Property or any Property That Need Immediate Attention.

14 Do you own or have any No.
property that poses or is
alleged to pose a threat of LJ Yes. What is the hazzard?
imminent and identifiable
hazard to public health or
safety? If immediate attention is needed, whey is it needed?

For example, do you own
perishable goods or livestock
that must be fed or a building
that needs urgent repairs? Where is the property?
number Street
City State Zip Code
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy

Page 4

 
Case 19-01974-LT7
Debtor! § _ Brian A. LaPorte

 

 

15 Tell the court whether you

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you can
not do so, you are not eligible
to file.

If you file any, the court can
dismiss your case, you will
lose whatever filing fee you
paid, and your creditors can
begin collection activities
again.

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Case Number ( if known)

nea

Lj | received a briefing from an approved credit
counseling agency within the 10 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

| received a briefing from an approved credit
counseling agency within the 180 days before
| filed this bankruptcy petition, but | do not
have a certificated of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a coy of the certificate
and payment plan, if any.

[J | certity that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary
waiver of this requirement.

To ask for a 30 day temporary waiver of the
requirement, attach a separate sheet
explaining what efforts you made to obtain
the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what
exigent circumstances required you to file the
case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not
receiving a briefing before you filed for
bankruptcy.

If the court is satisfied with your reasons, you
must still receive a briefing within 30 days
after you file. You must file a certificate from
the approved agency, along with a copy of
the payment plan you developed, if any. If
you do not do so, your case may be
dismissed.

An extension of the 30 day deadline is
granted only for cause and is limited to a
maximum of 15 days.

LJ | am not required to receive a briefing about
credit counseling because of:

Lj Incapacity | have a mental illness or
mental deficiency that makes
me incapable of realizing or
making rational decisions
about finances.

Lj Disability My physical disability causes
me to be unable to
participate in a briefing in
person, by phone, or through
the internet, even after |
reasonably tried to do so.

Lj Active Duty | am currently on active
military duty in a military
combat zone.

F.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the
court.

 
     
    

 

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Voluntary Petition for Individuals Filing for Bankruptcy

Page 5

 
Debtor 1Casepdda sOthPoril-LT7 Filed 04/05/19 Entered 04/05/19 13:BaseAimbeLDdindyn) Pg. 6 of 8
EESEAE Answer These Questions for Reporting Purposes.

 

16 What kind of debts do you
have?

16a Are your debts primarily consumer debts? Consumer debts are defined In 11 U.S.C. § 101 (8) as " incurred by
an individual primarily for a personal, family, or household purpose."

No. Go to line 16b.

Yes. Go to line 17.
16b Are you debts primarily business debts? Business debts are debts that you incurred to obtain money for a

business or investment or through the operation of the business or investment.
No. Go to line 16c.

Li Yes. Go to line 17.

16c State the type of debts you owe that are not consumer debts or business debts.
None

 

17 ‘Are you filing under chapter
7?
Do you estimate that after any
exempt property is excluded
and administrative expenses

CJ No. | am not filing under Chapter 7. Go to line 16.

Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

LJ No.

 

 

are paid that funds will be
available for distribution to y
unsecured creditors? oe
18 How many creditors do you mi 1-49 1,000-5,000 15,001-50,000
estimate that you owe? |_| 50-99 5,000-10,000 50,001-100,000
| 100-199 10,000-25,000 More than 100,000
19 How much do you estimate $0-$50,000 $1,000,000-$10 million $100,000,000-$1 billion
your assets to be worth? $50,000-$100,000 $10,000,001-$50 million $1,000,000,001-$10 billion

$100,001 -$500,000
$500,001-$1 million

$50,000,001-$100 million
$100,000,001-$500 million

$10,000,000,001-$50 billion
More than $50 billion

ji

 

 

LEE) |LEEEL) |LEL)

 

 

20 How much do you estimate $0-$50,000 | $1,000,000-$10 million $100,000,000-$1 billion
your liabilities to he? $50,000-$100,000 | | $10,000,001-$50 million $1,000,000,001-$10 billion
$100,001-$500,000 | $50,000,001-$100 million $10,000,000,001-$50 billion
$500,001-$1 million | _§ $100,000,001-$500 million More than $50 billion
Sean
For You | have examined this petition, and | declare under penalty of perjury that the information provided is true

and correct.

If [have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,
12, 04 13 of title 11, United States Code. | understand the relief available under each chapter, and |
choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help
me fill out this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, Specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 1521341 41519, and 3671.
E
% /s/ ! *

NA Debtor 2 -

Debtor 1 - Brian A. LaPorte
Executedon: April 5, 2019

Executed on:

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy Page 6

 
Dentor ICascgianPALaP are Filed 04/05/19 Entered 04/05/19 13: Bae2@GmueLDmendm) Pg. 7 of 8

 

 

For your attorney, if you are
represented by one.

It you are not represented by an
attorney, you do not need to file this
page.

| the attorney for the debtor(s) named in this petition, declare that | have informed the
debtor(s) about eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11 United
States Code, and have explained the relief available under each chapter for which the
person is eligible, | also certify that | have delivered to the debtor(s) the notice required
by 11 U.S.C. § 342(b) and in a case in which § 707(b)(4)(D) applies, certify that | have no
knowledge after any inquire that the information in the schedules filed with the petition is
incorrect.

Dated: April 5, 2019

 

=

110 West C Street #2101

San Diego, CA 92101

(619) 234-0033

(619) 234-3335 = fax
creig@stopdebtiegal.sdcoxmail.com

 

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Voluntary Petition for Individuals Filing for Bankruptcy Page 7

 
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List of Debts

 

Capital One
PO Box 60024
City of Industry, CA 91716-0024

 

Capital One
PO Box 85015
Richmond, VA 23285-5075

 

Chase Card Services
PO Box 15298
Wilmington, DE 19850-5298

 

Chase Auto Finance
PO Box 901076 1TX1-0056
Fort Worth, TX 76101-2076

 

Chase USA
P.O. Box 94014
Palatine, IL 60094-4014

 

Citadel Servicing
15707 Rockfield Blvd.
Irvine, CA 92618

 

Citi Cards
PO Box 6241
Sioux Falls, SD 57117

 

Mission FCU
5785 Oberlin Drive #21
San Diego, CA 92121

 

 

Navy Federal Credit Union
PO Box 3000
Merrifield, VA 22119-3000

 

 
